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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                    )
 US DOMINION, INC., DOMINION                        )
 VOTING SYSTEMS, INC., and DOMINION                 )
 VOTING SYSTEMS CORPORATION,                        )
                                                    )
        Plaintiffs/Counter-Defendants,              )
                                                    )
 v.                                                 )
                                                    )
 MY PILLOW, INC., and MICHAEL J.                    )
 LINDELL,                                           )
                                                    )   Case No. 1:21-cv-445 (CJN)
      Defendants/Counter and Third-Party            )
      Plaintiffs,                                   )
                                                    )
 v.                                                 )
                                                    )
 SMARTMATIC USA CORP.,                              )
 SMARTMATIC INTERNATIONAL                           )
 HOLDING B.V., SGO CORPORATION                      )
 LIMITED, AND HAMILTON PLACE                        )
 STRATEGIES, LLC,                                   )
                                                    )
       Third-Party Defendants.                      )
                                                    )

                      DECLARATION OF MARK HATCH-MILLER
             IN SUPPORT OF MOTION FOR ADMISSION PRO HAC VICE

        Pursuant to Local Civil Rule 83.2(d) of the United States District Court for the District

 of Columbia, I, Mark Hatch-Miller, hereby declare:


1.     My full name is Mark Hatch-Miller. I serve as counsel for plaintiffs US Dominion, Inc.,

Dominion Voting Systems, Inc., and Dominion Voting Systems Corporation.

2.     I am an attorney practicing with the law firm of Susman Godfrey L.L.P. located at 1301

Avenue of the Americas, 32nd Floor, New York, New York, 10019. My telephone number is



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(212) 336-8332.

3.     I am a member in good standing of the State Bar of New York, Bar NY No. 4981635. I

am also admitted to practice before the following courts:

                  a. United States District Court for the Southern District of New York;

                  b. United States District Court for the Eastern District of New York;

                  c. United States Bankruptcy Court for the Southern District of New York;

                  d.   United States Court of Appeals for the Second Circuit; and

                  e. United States District Court for the Western District of Texas.

4.     I certify that there are no pending disciplinary proceedings against me before any bar, and

I have not been disciplined by any bar in the past.

5.     I have not previously been admitted pro hac vice in this Court.

6.     I do not practice law from an office located in the District of Columbia.

I declare under penalty of perjury that the foregoing is true and correct. Executed on July 7, 2023.




                                                              Mark
                                                              M  kHHatch-Miller
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